                     Case 2:21-cr-00443-PA Document 8 Filed 10/19/21 Page 1 of 5 Page ID #:31

               UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. TIMOTHY CORNELL PATTERSON                                 Case No. 21-CR-443 PA

                                              0 Defendant         ~ Material Witness

  Violation of Tide and Section: 18 USC 924(D),28 USC 2461(c)
                                      Summons       ~ Out of District ~ UNDER SEAL ~ Modified Date:

  Check ~o   one ofthefive numbered boxes below (unless one bond is to be replaced by another):
  1,     Persona Recognizance Signature On y          (~),~ Affidavit ofSurety With Justification            Release No.
  2. ~ Unsecured Appearance Bond
                                                             (Form CR-3) Signed by:                             E(~L 2EL DT~ ~p _ ~                 ai
                                                                                                              ■ Release to Pretrial ONLY
                                                                                                              ~
  3. ~ Appearance Bond                                                                                        ~ Release to Probation ONLY
          $ 1,000,000                                                                                         ~ Forthwith Release
    (a~.~ C1Sh DCPOSttAmount or 96~ (Form CR-7~                    ~ With Full Deeding of Property:

    (b).~ Affidavit of Surety Without
           Justification (Form Cx-4) Signed by:                                                               ~ All Conditions of Bond
        $506,000 -Timothy Patterson                                                                            (ExceptClearing-Warrants
                                                                                                                            byust be Met
          $500,000 - Sukhiit Sin¢h                                                                              and Poted


           Add'1$500,000 to be submitted by
                                                                                                              ~ Third-Party Custody
           close of business on Tuesday,               4,~ Collateral Bond in the Amount of(Cash                Affidavit(Form CR-31)
           10/19/2021                                      or Negotiable Securities):
                                                              $                                               ■ Bail. Fixed by Court:
                                                                                                              Q
                                                       5. ❑Corporate Surety Bond in the Amount of             ~E             ~ vm
                                                             $                                                     (Judge /Clerk's Initials)


                                                     PRECONDITIONS TO RELEASE
      The government has requested a Nebbia hearing under 18 U.S.C.§ 3142(8)(4).
      The Court has ordered a Nebbia hearing under 4 3142(g)(4).
      The Nebbia hearing is set for                                     at           ❑ a.m. ❑ p.m.

                                                 ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
Q■ Submit to: ~■ Pretrial Services Agenry (PSA) supervision as directed by PSA; ~ Probation (USPO) supervision as directed by USPO.
                 (The agency indicated above, PSA or USPO, will be referred to below as "SupervisingAgency.'~

0■ Surrender all passports and travel documents to Supervising Agency no later than 10/15/2021                                 sign a Declaration

    re Passport and Other Travel Documents (Form CR-3~, and do not apply for a passport or other travel document during the pendency
     of this case.
Q Travel is restricted to CACD                                                              unless prior permission is granted by Supervising
     Agency to travel to a specific other location. Court permission is required for international travel.
~■ Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
~■ Maintain or actively seek employment and provide proof to Supervising Agency. ~ Employment to be approved by Supervising Agenry.
    Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                 Defendant's Initials:                 Date:
CR-1 (07/21)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                               PAGE 1 OF 5
                  Case 2:21-cr-00443-PA Document 8 Filed 10/19/21 Page 2 of 5 Page ID #:32
   Case Name: United States of America v. TIMOTHY CORNELL PATTERSON                                 Case No. 21-CR-443 PA
                                              ■ Defendant
                                              ~                  ~ Material Witness
   ~■] A'void all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
        witness in the subject investigation or prosecution, Q including but not limited to Thomas Cole
                                                           ;~ except
       Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
        of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

   ~■ Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~■ In order to determine compliance,
        you agree to submit to a search of your person and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
       Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
        own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree
        to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
       Do not engage in telemarketing.
   0
   ■ Do not sell, transfer, or give away any asset valued at $ 50,000                            or more without notifying and obtaining
        permission from the Court, except N/A
       Do not engage in tax preparation for others.
       Do not use alcohol.
       Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
        Supervising Agency.
   Q
   ■ Do not use or possess illegal drugs or state-authorized marijuana.     Q In order to determine compliance, you agree to
        submit to a search of your person and/or property by Supervising Agenry in conjunction with the U.S. Marshal.
   0 Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
        designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
  ~
  ■ Submit to: ■drug and/or ~ alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
        You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
       Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only
       Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agenry. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
  ~
  ■ Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
       restrictions, under the direction of the Supervising Agency. You must pay all or part of the costs of the program based upon your ability
       to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

       Location Monitoring Technology

       ~■ Location Monitoring technology at the discretion of the Supervising Agency

       or



                                                                                 Defendant's Initials:                Date:
CR-1 (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                 PAGE 2 OF 5
                     Case 2:21-cr-00443-PA Document 8 Filed 10/19/21 Page 3 of 5 Page ID #:33
  Case Name: United States of America v. TIMOTHY CORNELL PATTERSON                                      Case No. 21-CR-443 PA

                                                  0Defendant       ~ Material Witness

            Location Monitoring with a bracelet
                  at the discretion of the Supervising Agency or
                  Radio Frequency(RF)or
                  Global Positioning System (GPS)

                  Release to the Supervising Agency only or     ~ Placement of bracelet within 24 hours of release
       or


            Location Monitoring without a bracelet

                  at the discretion ofthe Supervising Agency or

                  Virtual/Biometric or

                  Voice Recognition



       Restrictions

      0 Location Monitoring only - no residential restrictions

            Curfew -You are restricted to your residence every day:
                  from                     to
                  as directed by Supervising Agency

            Home Detention -You are restricted to your residence at all times except for employment,education, religious services, medical
               needs or treatment, attorney visits, court appearances and obligations, essential needs, and
               all of which must be preapproved by the Supervising Agency
            Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
               appearances and obligations, and                                      all of which must be preapproved by the Supervising Agenry


      You are placed in the third-party custody(Form CR-31) of
      Clear outstanding ~ warrants or~ DMV and traffic violations and provide proof to Supervising Agency within                  days
       of release from custody.
      Do not possess or have access to, in the home,the workplace, or any other location, any device that offers Internet access except
       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
       and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
       the age of 18 except in the presence of a parent or legal guardian of the minor.
      Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
       under the age of 18.
      Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
                                                                                    Defendant's Initials:              Date:
CR-1 (07/21)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                             PAGE 3 OF S
                   Case 2:21-cr-00443-PA Document 8 Filed 10/19/21 Page 4 of 5 Page ID #:34
   Case Name: United States of America v. TIMOTHY CORNELL PATTERSON                                          Case No. 21-CR-443 PA
                                               ■ Defendant
                                               ~                  ~ Material Witness

       Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
       of your person and/or property, including computer hardware and software, by Supervising Agenry in conjunction with the U.S.
        Marshal.
   Q Other conditions:

        Do not associate with any members or known associates of the Oak Park Bloods street gang, with the exception offamily members
        Defendant was released on a surety bond from the State of Nevada with sentencing date on November 17,2021 at 12:00 p.m.




                                               GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness,juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C.§ 14135a




                                                                                     Defendant's Initials:               Date:
CR-1 (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  PAGE 4 OF 5
                 Case 2:21-cr-00443-PA Document 8 Filed 10/19/21 Page 5 of 5 Page ID #:35
      Case Name: United States of America v. TIMOTHY CORNELL PATTERSON                                Case No. 21-CR-443 PA

                                                     ■ Defendant
                                                     Q               ~ Material Witness


                                     ACKNOWLEDGMENT OFDEFENDANT/MATERIAL WITNESS

     As a condition of my release on this bond,pursuant to Tide 18 of the United States Code,I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions,and the additional conditions of release and agree to comply with
     all conditions ofrelease imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore,it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

     I understand that violation ofany ofthe general and/or additional conditions of release of this bond may result in a revocation of
     release, an order ofdetention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
     fine.

     I further understand that ifI fall to obey and perform any ofthe general andlor additional conditions of release ofthis bond,this bond
     may be forfeited to the United States of America. If said forfeiture is not set aside,judgment raay be summarily entered in this
     Court against me and each surety,jointly and swerally,for the bond amount,together with interest and costs. Execution ofthe
     judgment may be issued or payment secured as provided by the Pederal Rules of Criminal Procedure and other lawn of the
     United States,and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
     forfeited.




     Date                                      Signature ofDefendant/Material Witness                     Telepho e Number




     City and State(DO NOTINCLUDE ZIP CODE)




    0Check ifinterpreter is used:I have interpreted into the             !/ ~                                      language this entire form
          and have been told by the defendant that he or she understands       ofit.



     Interpreter's Signature                                                                          Date



     Approved:            ~~ ~" ~                                                                        October 19, 2021
                               United States          fudge/Magistrate Judge                          Date

     Ifcash deposited: Receipt #         j~ ~                    for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                  Defendant's Initials:              Date:
CR-1 (07!21)                               CENTRAL DISTRICT OF CAI.IPORNIA RELEASE ORDER AND BOND FORM                            PAGE 5 OF 5
